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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


                                           Civil Action File No.: 1:21-cv-00135
In re: Clearview AI, Inc. Consumer Privacy
Litigation                                 Judge Sharon Johnson Coleman

                                             Magistrate Judge Maria Valdez




                       PLAINTIFFS’ REPLY IN SUPPORT
                  OF MOTION FOR PRELIMINARY INJUNCTION
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                                         INTRODUCTION

        Since Plaintiffs filed their preliminary injunction motion, the need for the requested relief

has heightened. Based on the Court-ordered deposition of Clearview’s1 General Counsel, Thomas

Mulcaire, Plaintiffs have learned that: (a) Defendants have set up two offshore companies that can

be used to offer the Biometric Database in the U.S.; (b)




                                . Compounding matters, Mulcaire’s deposition made clear that

Clearview’s General Counsel is an incredible witness, willing to say whatever is convenient.

        The fact is that Defendants developed an illegal business model that violates the privacy

rights of millions of Illinois residents and now want to be rewarded for their illegal actions by

avoiding the requested injunctive relief. However, the facts and law make clear that Plaintiffs are

entitled to the requested relief. In the absence of such relief, Defendants will continue to collect

and disseminate Plaintiffs’ and Class Members’ Biometric Data without implementing necessary

safeguards; worse, they could move that data offshore where it will be much more difficult: (a) to

determine what, if any, safeguards are in place; and (b) for Plaintiffs to enforce their rights.

                                    SUPPLEMENTAL FACTS

        Defendants premise their response on Mulcaire’s declaration. See Dkt. 43. However,

Mulcaire’s deposition revealed that Mulcaire is an incredible witness whose declaration contains

numerous false or materially inaccurate statements and omits critical facts. Indeed, Mulcaire has




1
 Capitalized and defined terms have the same meanings as set forth in Plaintiffs’ Motion for Preliminary
Injunction.

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lied under oath about something as simple as when he became General Counsel – in addition to

misrepresenting material facts to the Illinois Secretary of State.

Mulcaire Is Not a Credible Witness

       In three sworn declarations, Mulcaire represented to the Court that he has been Clearview’s

General Counsel since September 2019. Mutnick Dkt. 56-2, ¶ 1; Mutnick Dkt. 65-1, ¶ 1; Dkt. 43-

1, ¶ 1. But Mulcaire did not become a licensed attorney until March 2020. Exhibit 1 (Mulcaire Tr.)

at 14:12-17. Thus, Mulcaire could not have been the General Counsel in September 2019 unless

he was practicing law without a license. Assuming that he did not do that, Mulcaire repeatedly

misrepresented facts to the Court and/or failed to carefully review his declarations for accuracy.

       Mulcaire has a history of mispresenting material information. Plaintiff Mutnick previously

informed the Court of Mulcaire’s material misrepresentations to the Illinois Secretary of State

regarding the claim that a Clearview subsidiary – Rocky Mountain Data Analytics, LLC (“Rocky

Mountain”) – was the sole manufacturer and provider of the Biometric Database. Mutnick Dkt. 64,

64-7. Even though the representations were demonstrably false, at his deposition, Mulcaire falsely

testified that they were “100 percent true.” Ex. 1 at 164:2-14.

       At issue is a “Sole Manufacturer Statement” signed by Mulcaire that represented to the

Secretary of State that: (a) Rocky Mountain “is the sole manufacturer and provider of the

[Biometric Database]”; and (b) to the “best of our knowledge, there is no other company that offers

this product and set of capabilities.” Exhibit 2 (Sole Manufacturer Statement). The Sole

Manufacturer Statement allowed Rocky Mountain to provide the Biometric Database to the

Secretary of State without a competitive bidding process. Ex. 1 at 160:23-161:8, 162:13-17.

Knowing that Clearview also was a provider of the Biometric Database, at his deposition, Mulcaire




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incredibly insisted the statement also referred to Clearview, even though it never mentioned

Clearview. See Ex. 1 at 156:22-157:10, 158:16-23, 159:9-12, 160:1-164:14.

Defendants Have Set Up Offshore Companies

       At his deposition, Mulcaire testified that Defendants have set up offshore subsidiaries in

Panama and Singapore to offer Clearview’s software. Id. at 174:21-175:12, 175:20-176:20.

Mulcaire admitted that Clearview, itself, currently can offer its Biometric Database to foreign

countries, and when asked why Defendants needed the offshore companies, he asserted the

attorney-client privilege. Id. at 177:1-4, 178:7-179:1. Mulcaire further admitted that the offshore

companies could offer the Biometric Database in the United States. Id. at 179:25-180:25.

Clearview Is Incapable of Responsibly Handling the Biometrics

       At his deposition,



                                                                                     . Id. at 105:20-

106:15; 152:23-153:13 290:4-11. According to Mulcaire,

                                                                 Id. at 290:9-12. To the extent the

testimony is truthful,

                                                .

Defendants’ Security Measures Are Illusory

       Mulcaire’s declaration states that Clearview has only had two “known” hacks and sets forth

what he deems to be “reasonable safeguards” Defendants have implemented to secure Clearview’s

data. Dkt. 43-1, ¶¶ 26, 28. Mulcaire admits that he is not a cybersecurity, encryption or technology

expert and that he does not read treatises regarding cybersecurity. Ex. 1 at 84:19-23, 277:23-278:4.

Further, Mulcaire does not know if Defendants use the most up-to-date encryption to protect the



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The Clearview Defendants Sell, Lease, Trade, Disseminate, Disclose and Provide Access to
Biometric Information

        Mulcaire’s declaration carefully states that Clearview does not “sell, lease, trade,

disseminate, disclose, or provide access to any facial vectors to its customers.”3 Dkt. 43-1, ¶ 15

(emphasis added). However, in a previous declaration and at his deposition, Mulcaire admitted

that “anyone with internet capability is able to access the files that Clearview downloads in its

database” (Dkt. 56-2 (Mulcaire Decl.), ¶ 4; Ex. 1 at 188:2-5), calling the above-described statement

into doubt.

        At his deposition, Mulcaire was asked about an earlier declaration that stated that

Clearview did not “sell, lease, trade, or disseminate any biometric information to its customers.”

Ex. 1 at 223:4-225:13 (emphasis added). Mulcaire stated that he switched from “biometric

information” to “facial vectors” because “it’s more clear as to – and a better reflection of the actual

state of affairs . . . . by changing it to facial vectors, it makes it clear what we’re talking about in

the context of Clearview’s operations.”4 Id. at 225:5-13.

        Even if Mulcaire had not clarified in his declaration that Clearview does not sell or

distribute biometric identifiers, his deposition testimony made clear that his previous reference to

“biometric information” had not nothing to do with BIPA. According to Mulcaire, by stating that

Clearview did not sell or distribute “biometric information,” he meant that the photographs and

website URLs collected by Clearview were not biometric information. Id. at 219:3-223:3, 226:24-

228:3. Importantly, Mulcaire’s testimony made clear that Clearview provides customers with


3
  Under BIPA, a “biometric identifier” is a “retina or iris scan, fingerprint, voiceprint, or scan of hand or
face geometry” – i.e., a set of measurements unique to a person by which the person can be identified.740
ILCS 14/10. In contrast, “biometric information” is “any information, regardless of how it is captured,
converted, stored, or shared, based on an individual’s biometric identifier used to identify an individual.”
Id. (emphasis added).
4
  A facial vector is a “mathematical representation of a face as it appears in a photograph” – i.e., a biometric
identifier. Id. at 129:8-18; see also id. at 136:7-13 (discussing Clearview’s “facial geometry algorithm”).

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biometric information – i.e., Clearview’s software identifies unknown individuals based on their

“facial vectors” or biometric identifiers. Id. at 181:19-184:12.

Mulcaire Misrepresented the Nature of Who Can Access the Biometric Database

       Contrary to Mulcaire’s declaration (Dkt. 43-1, ¶ 17), Defendants’ documents show that

                                                                                     . See Exhibit 4

                            at 10, 19, 23-25, 40; Ex. 1 at 242:1-251:11; Exhibit 5 (Clearview Code

of Conduct) at 14.




                                                                                 .

       During his deposition, Mulcaire also testified that Defendants



         Id. at 233:5-236:8. Mulcaire further acknowledged that various Clearview employees

have conducted thousands of individual searches of the Biometric Database. Id. at 251:12-265:2;

Ex. 2 at 8, 15, 20-21, 31-32, 42-43, 48.



                                      . Ex. 1 at 251:19-21, 252:10-22, 264:22-24. Finally, Mulcaire

acknowledged that, in the past, Clearview investors were granted access to the Clearview app. Id.



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at 86:20-22. While Mulcaire claimed that Clearview currently has a policy against investors being

granted such access, he admitted that the policy is not in writing and that it is really just a “decision

that’s been made by the corporate leadership.” Id. at 105:20-106:15. Moreover, Mulcaire

acknowledged that the decision could be changed. See id. at 103:20-105:3.

Clearview’s Post-Injunction-Motion Business Changes Are Illusory.

        The business changes Defendants purportedly made after Plaintiff Mutnick filed his

preliminary injunction motion (see Dkt. 43-1, ¶¶ 33-45) are illusory. For instance, Mulcaire agreed

that if photographs on the Internet do not have embedded geolocation data, Clearview cannot

automatically determine if they were taken in Illinois and cannot “block them.” Ex. 1 at 285:1-16.



                                                                                                        .




                                                                               Mulcaire confirmed the

purported changes can be reversed at any time. Id. at 292:19-293:8.

                                            ARGUMENT

I.      Evidentiary Standards.

        A preliminary injunction seeks to preserve the parties’ relative positions prior to a trial on

the merits. Federal Trade Comm’n v. Lifewatch, Inc., 176 F.Supp.3d 757, 761 (N.D. Ill. 2016). A

court may grant a preliminary injunction using less formal procedures and less complete evidence

than at trial. Id. It is settled law that “relaxed evidentiary standards permit a district court to

consider hearsay at the preliminary injunction stage.” Id. at 763. The applicable standard is whether

the evidence is appropriate given the nature of an injunctive proceeding, e.g., the need for an



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expeditious resolution. Contrary to Defendants’ contention (Dkt. 43 at 6), based on the applicable

standards, Plaintiffs’ evidence is appropriate and demonstrates the need for the requested relief.

II.      Plaintiffs Are Reasonably Likely to Succeed on the Merits.

         A.       Defendants Are Not Exempt from BIPA.

         BIPA § 25(e) provides: “Nothing in this Act shall be construed to apply to a contractor,

subcontractor, or agent of a State agency or local unit of government when working for that State

agency or local unit of government.” 740 ILCS 14/25(e) (emphasis added). Defendants argue that

Clearview’s operations wholly fall under this exemption. Dkt. 43 at 13. The argument lacks merit.

         As discussed above and in Plaintiffs’ opening brief, Clearview’s own documents show that:

(a)                                                               ; (b)

                ; (c)

                                                                                                     ;

(d)                                                                                 and (e) Clearview

has applied for a patent that goes far beyond a product offered to government bodies. Further,



                                . On these facts, § 25(e) does not wholly exempt Clearview from BIPA’s

requirements. See also Dkt. 43 at 15 (Defendants work with agents of law enforcement and/or

governments).

         The § 25(e) exemption does not apply for the separate reason that Defendants did not

collect Plaintiffs’ and Class Members’ Biometric Data “when working for” a State agency or local

unit of government. Rather, Defendants first built the Biometric Database and then figured out

what to do with it. See Kashmir Hill, Before Clearview Became a Police Tool, It Was a Plaything

of        the           Rich,        New         York        Times        (Mar.       5,       2020),



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https://www.nytimes.com/2020/03/05/technology/clearview-investors.html (last accessed on May

6, 2021) (Defendants developed the facial recognition service not knowing who would pay for it).

        Even if Defendants only did business with “governments and governmental entities,” §

25(e)’s exemption still would not apply because BIPA’s text makes clear that the exemption only

includes conduct undertaken when working for Illinois agencies or local units of government in

Illinois. 740 ILCS 14/5(b) (referring to the City of Chicago and “other locations in this State”); see

also 5 ILCS 70/1.28 and Ill. Const. Art VII, sec. 1 (1970) (defining “units of local government”;

do not include police departments). The record is clear that Defendants offer the Biometric

Database to numerous governmental entities outside of Illinois. See Dkt. 43-3 at 2.

        Even if the Court were to find the definitions of “State” and “local unit of government” to

be ambiguous, extrinsic interpretive aids – which the court may consult in such circumstances,

Adams v. Catrambone, 359 F.3d 858, 862 (7th Cir. 2004) – confirm Plaintiffs’ reading. See Exhibit

6 (State of Illinois – Bill Drafting Manual (2007)) at 277 (capitalize “State” when referring to the

“State of Illinois”).

        Defendants misstate the holding of the case they cite to justify their patent application’s

explicit reference to non-governmental uses. See Dkt. 43 at 11-12 and n.2. The cited case merely

provides that to claim an invention dating back to a previous application, a newer application must

contain an equivalent description. See Lockwood v. American Airlines, Inc., 107 F.3d 1565, 1572

(Fed. Cir. 1997). Thus, to preserve their invention of technology that assists law enforcement in

identifying suspects or victims, Defendants’ recent patent application only needed to describe that

aspect of the invention. See id.




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        B.      Plaintiffs Do Not Seek the Extraterritorial Application of BIPA.

        Contrary to Defendants’ contention (Dkt. 43 at 15), Plaintiffs do not seek the extraterritorial

application of BIPA. Every court that has considered the contention in a similar context has

rejected it. See, e.g., Patel v. Facebook, Inc., 932 F.3d 1264, 1275-76 (9th Cir. 2019); Rivera v.

Google, Inc., 238 F.Supp.3d 1088, 1100-02 (N.D. Ill. 2017); Monroy v. Shutterfly, Inc., No. 16 C

10984, 2017 WL 4099846, at *5-7 (N.D. Ill. Sept. 15, 2017).

        Further, determining the applicability of the extraterritoriality doctrine requires a fact-

intensive inquiry, and the facts here do not support Defendants’ argument. See Avery v. State Farm

Mut. Auto. Ins. Co., 835 N.E.2d 801, 854 (Ill. 2005), (“[E]ach case must be decided on its own

facts.”). In Avery, the Illinois Supreme Court held that the plaintiffs sought the extraterritorial

application of an Illinois consumer fraud statute because the relevant circumstances at issue did

not occur “primarily and substantially” within Illinois but rather in the state where, among other

things: (a) plaintiffs resided; (b) the deception or “failure to disclose” occurred; and (c) the

plaintiffs incurred their injury. Id. at 854.

        Unlike in Avery, here, the relevant circumstances occurred in Illinois. Defendants failed to

obtain Plaintiffs’ and Class Members’ consent in Illinois to use their Biometric Data. Had

Defendants made any of the required disclosures, those disclosures would have occurred in Illinois

where Plaintiffs and Class Members reside. See id. at 854 (look to where information is received).

Moreover, Defendants injured Plaintiffs and Class Members in Illinois by trespassing on their

private domains. See Bryant v. Compass Group USA, Inc., 958 F.3d 617, 624 (7th Cir. 2020)

(equating BIPA violation to a trespass of a person’s private domain).5



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                                                                                        . Further, Mulcaire
testified that Clearview also has an employee who lives in Illinois. Ex. 1 at 293:20-294:2.


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       Ignoring the facts and the law, Defendants contend the “‘majority of circumstances’ giving

rise to Plaintiffs’ claims occurred outside of Illinois.” Dkt. 43 at 15. However, courts have rejected

the factors relied on by Defendants as being dispositive for purposes of the extraterritoriality

analysis. See Avery, 835 N.E.2d at 854-55 (rejecting defendant’s home state as state with most

nexus to claim); Patel, 932 F.2d at 1276 (server location is not dispositive).

       C.      The Dormant Commerce Clause Does Not Apply to This Case.

       Defendants’ dormant Commerce Clause contention (see Dkt. 43 at 15-16) suffers the same

flaws as their extraterritoriality argument. Courts routinely reject dormant Commerce Clause

challenges when out-of-state defendants obtain Illinois residents’ Biometric Data. See In Re

Facebook Biometric Info. Privacy Litig., No. 3:15-cv-03747-JD, 2018 WL 2197546, at *4 (N.D.

Cal., May 14, 2018); Rivera, 238 F.Supp.3d at 1102-04; Monroy, 2017 WL 4099846, at *7-8.

Further, unlike here, the dormant Commerce Clause only “precludes the application of a state

statute to commerce that takes place wholly outside of the State’s borders, whether or not the

commerce has effects within the state.” Rivera, 238 F.Supp.3d at 1103 (quoting Healy v. Beer

Inst., Inc., 491 U.S. 324, 336 (1989)) (internal quotation marks omitted) (emphasis added). The

conduct here did not take place “wholly” outside Illinois.

       Defendants’ reliance on Midwest Title Loans, Inc. v. Mills, 593 F.3d 660 (7th Cir. 2010)

(Dkt. 43 at 15), is misplaced. Unlike BIPA – which protects Illinois residents in Illinois, in Mills,

an Indiana statute imposed an Indiana licensing requirement for lenders executing transactions

entirely within Illinois. Id. at 662. Further, contrary to Defendants’ contention (Dkt. 43 at 16),

BIPA does not “exalt[] the public policy of one state over that of another.” See Mills, 593 F.3d at

Under BIPA, other states can permit private entities to collect, use and distribute their own

residents’ Biometric Data. Likewise, Illinois may protect its own citizens from privacy violations



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perpetrated online, even by actors physically located elsewhere. Cf. S. Dakota v. Wayfair, Inc., 138

S. Ct. 2080, 2097 (2018) (the Commerce Clause does not “limit[] the lawful prerogatives of the

States” by requiring that regulated online entities have a physical presence in the State).

       Defendants’ reliance on unsuccessful New York legislation (Dkt. 43 at 16) is similarly

misplaced. That New York failed to pass a bill protecting New York citizens’ biometric

information cannot preclude Illinois from protecting the biometric data of its own citizens.

       Finally, the facts belie Defendants’ claim that they have no way to identify Illinois residents

and, if required to do so, Clearview likely would go out of business. See Dkt. 43 at 16. Defendants

simply do not want to make the effort to identify Illinois residents, calling the process

“impracticable.” Ex. 1 at 205:2-7. Further, BIPA is not a strict liability statute; it only imposes

liability for negligent, reckless, or intentional violations. 740 ILCS 14/20. Thus, Defendants are

required only to make reasonable efforts to identify Illinois residents. That they do not want to

make such efforts does not create a dormant Commerce Clause issue.

       D.      The First Amendment Does Not Bar Plaintiffs’ BIPA Claims.

       BIPA, as applied to Defendants, does not violate the First Amendment because the

provisions at issue regulate conduct, not speech. To the extent any provision limits information

Defendants can communicate to others, it does so in a content-neutral manner and is therefore

subject to intermediate scrutiny, which it easily survives.

               1.      Legal Standards.

       Laws that regulate conduct do not implicate the First Amendment merely because a party

wishes to use the regulated conduct in service of some future speech. See Rumsfeld v. Forum for

Academic. & Inst’l Rts., Inc., 547 U.S. 47, 66 (2006) (rejecting notion that “a regulated party could

always transform conduct into ‘speech’ simply by talking about it”). Rather, a First Amendment



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injury only arises if the regulated conduct is “so inherently expressive” that it warrants

constitutional protection. Id. at 47. Even then, the challenged regulation is subject to intermediate

scrutiny and is constitutional if “it furthers an important or substantial governmental interest; if

[that] interest is unrelated to the suppression of free expression; and if the incidental restriction on

alleged First Amendment freedoms is no greater than is essential to the furtherance of that interest.”

U.S. v. O'Brien, 391 U.S. 367, 377 (1968) (“O’Brien Test”).

       If a challenged law directly regulates speech, a court must consider whether it does so in a

content-neutral or content-based manner. Dahlstrom v. Sun-Times Media, LLC, 777 F.3d 937, 950

(7th Cir. 2015). Content-neutral speech regulations are subject to intermediate scrutiny. Id. at 949,

952 (applying the O’Brien Test). While content-based speech regulations generally are subject to

strict scrutiny, id. at 949, when the regulated speech is commercial in nature, a form of intermediate

scrutiny applies. See Sorrell v. IMS Health Inc., 564 U.S. 552, 571-72 (2011) (content-based statute

failed under more permissive “commercial speech inquiry” and the “stricter form of judicial

scrutiny” applicable to regulations of non-commercial speech).

               2.      BIPA Regulates Conduct.

       Defendants claim that BIPA regulates their speech because it inhibits their “ability to

collect, analyze, and include public information in [their] product, and prevent[s] dissemination of

truthful information regarding the identity of individuals pictured in law enforcement-submitted

images.” Dkt. 43 at 17. This contention fails as a matter of fact and law. As set forth in BIPA,

biometrics are private – not public – information. See 740 ILCS 14/5(c), (g). Further, BIPA

regulates conduct, not speech.

       Privacy statutes prohibiting the collection of identifying personal information in a specific

manner regulate conduct, not speech. Dahlstrom, 777 F.3d at 947, 949. In Dahlstrom, the court



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rejected a First Amendment challenge to the federal Driver’s Privacy Protection Act, which

prohibits obtaining “personal information” that identifies an individual from a motor vehicle

record. 777 F.3d at 941, 949. The plaintiffs alleged that the Chicago Sun-Times violated the statute

when it collected and published information from motor vehicle records about their “birth date,

height, weight, hair color, and eye color.” Id. at 941. The defendant raised a First Amendment

challenge, claiming that the statute impermissibly “interfere[d] with the ability of the press to

gather the news.” Id. at 946.

       The Seventh Circuit disagreed, holding that the statute’s “limitation on obtaining personal

information is not a restriction on speech at all,” and did not trigger any First Amendment scrutiny.

Id at 949. The court also held that “a limitation only on access to information” could not by itself

allow the party desiring the information to assert a First Amendment injury. Id. at 947 (emphasis

in original). A different conclusion would call into question the constitutionality of a wide range

of statutes that permissibly regulate private parties’ access to sensitive information. Id. The court

further differentiated “harvesting information” designated as private from using “common . . .

ubiquitous form[s] of communication” to gather information, e.g., audio and visual recording or

photography. Id. at 948 (distinguishing ACLU of Ill. v. Alvarez, 679 F.3d 583, 603 (7th Cir. 2012)).

       Applying Dahlstrom, Defendants’ First Amendment challenge fails. If the press has no

First Amendment right of access to sensitive information that is statutorily deemed off-limits to

the general public, surely Defendants do not have such a right. Indeed, Plaintiffs’ and Class

Members’ Biometric Data is far more private than the identifiers at issue in Dahlstrom. Further,

as in Dahlstrom, if accepted, Defendants’ argument would imperil many statutes that permissibly

regulate the collection and use of sensitive, private information.6


6
  See, e.g., Health Insurance Portability and Accountability Act of 1996 (“HIPAA”), Pub. L. No. 104-191
(regulating access to and use of health records); Fair Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681

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       Sorrell, relied on by Defendants (Dkt. 43 at 17), does not change this conclusion. Unlike

here, in Sorrell, the statute did not make prescriber-identifying information confidential, but

instead allowed anyone to obtain that information from pharmacies except those engaged in

marketing. 564 U.S. at 572-73. As such, the Court held that the statute impermissibly regulated

marketing-related speech, imposing “content- and speaker- based restrictions on the availability

and use of prescriber-identifying information” and, thereby, targeted marketers and their

marketing-related speech for differential ill treatment. Id. at 571. The Court further held that the

State “might have advanced its asserted privacy interest by allowing the information’s sale or

disclosure in only a few narrow and well-justified circumstances,” which would “present quite a

different case . . . .” Id. at 573. Notably, that is what BIPA does. And unlike the statute in Sorrell,

BIPA targets no particular viewpoint or subject matter of speech. Importantly, Sorrell’s holding in

no way lessened the State’s ability to designate a category of information as sensitive or private.

       Finally, nothing about the regulated conduct at issue here is “so inherently expressive” that

it qualifies for First Amendment protection. See Rumsfeld, 547 U.S. at 49. If a newspaper’s

collection of private information to publish a news story does not constitute protected expression,

see Dahlstrom, 777 F.3d at 947, 949, neither does Defendants’ conduct.

               3.      Even if BIPA Burdens Speech, It Is Subject to Intermediate Scrutiny.

       To the extent BIPA burdens speech by regulating the dissemination of Biometric Data

without notice and consent, it does so in a content-neutral manner and is, therefore, subject to

intermediate scrutiny. See Dahlstrom, 777 F.3d at 949. Defendants incorrectly argue that strict

scrutiny applies because BIPA is a “content-based statute” that “target[s] speech based on its



(same, regarding payment records); Family Educational Rights and Privacy Act (“FERPA”), 20 U.S.C. §
1232g (same, regarding educational records); Illinois Genetic Information Privacy Act, 410 ILCS 513/1
(same, regarding genetic testing and results); 5 ILCS 179/10 (same, regarding Social Security numbers).

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communicative content.” See Dkt. 43 at 18. A statute is content-based if it: (a) restricts “particular

viewpoints”; or (b) targets “public discussion of an entire topic” or “subject matter” for differential

treatment. Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 168-69 (2015). As discussed above, BIPA

does neither. Cf. Sorrell, 564 U.S. at 564, 566 (statute “disfavor[ed] marketing” in general and was

“aimed at a particular viewpoint” the state opposed). Defendants’ claim that BIPA targets “content

[it] believes is a too-efficient means of identifying individuals” (Dkt. 43 at 18) lacks merit. BIPA

does not suppress a viewpoint or topic; it protects sensitive private information, which is

permissible. Cf. State of Ill. v. Austin, 155 N.E.3d 439, 458 (Ill. 2019) (“The entire field of privacy

law is based on the recognition that some types of information are more sensitive than others . . . ”).

        The contention that BIPA requires strict scrutiny because it makes “speaker-based”

distinctions (Dkt. 43 at 18) likewise fails. Virtually all privacy regulations entrust some individuals

or entities with the regulated information, but not others. See, e.g., 20 U.S.C. § 1232g(b)(1)(A)-

(L) (FERPA provisions designating permissible recipients). To treat every such statute as a

“speaker-based” speech regulation subject to strict scrutiny would upend all of privacy law. Cf.

Dahlstrom, 777 F.3d at 950 (privacy statute content-neutral despite specific exemptions).7

        In the alternative, even if the court finds that BIPA is a content-based speech regulation, it

is nonetheless subject to intermediate scrutiny because, as applied to Defendants, the speech it

regulates is commercial and, therefore, permissible in nature. Sorrell, 564 U.S. at 571-72 (2011).




7
 BIPA’s exemption for federally-regulated financial institutions not only recognizes a category of trusted
custodians, but also defers to a distinct federal data privacy regime already in place for such entities. See
12 C.F.R. § 1016 (data privacy rule applicable to all financial institutions regulated by the Graham-Leach-
Bliley Act of 1999).

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               4.      BIPA Satisfies Intermediate Scrutiny.

       To the extent any BIPA provision regulates speech, it survives intermediate scrutiny under

the O’Brien Test. First, regulating the collection, use and dissemination of Biometric Data

advances the key government interests of disincentivizing the unlawful collection of the data in

the first place and minimizing any subsequent harm resulting from that collection. See Dahlstrom,

777 F.3d at 952, citing Bartnicki v. Vopper, 532 U.S. 514, 529 (2001); see also Rosenbach v. Six

Flags Entertainment Corporation, 2019 IL 123186 ¶ 33 (Ill. 2019) (BIPA’s notice and consent

provisions protect citizens’ control over their highly sensitive data).

       Defendants’ contention that Plaintiffs have no protectable right to privacy in their

Biometric Data because the data is from photographs on the Internet (Dkt. 43 at 17) is meritless.

As discussed throughout, BIPA does not prohibit collecting or sharing photographs. See, generally,

740 ILCS 14/10. Unlike photographs, a person’s Biometric Data is private. Accordingly, case law

that protects the publication of “information in the public domain” or “public record” (see Dkt. 43

at 17) is inapposite. Indeed, if Defendants’ position is accepted, states could not regulate the use

of information that might be derived from a public photograph, including a driver’s license or

credit card number captured on camera, or a fingerprint or retinal scan – which can also be obtained

from photographs. See Monroy, 2017 WL 4099846, at *4; cf. Kyllo v. United States, 533 U.S. 27,

37 n.4 (2001) (finding what the Court described as “hi-tech measurement of emanations from a

house” to be a search, notwithstanding the fact that the “emanations” were captured in public).

One does not forfeit any protectable right to privacy merely by showing one’s face in public.

       Second, as discussed throughout, Illinois’ governmental interest is unrelated to the

suppression of free expression and, in fact, promotes free expression by ensuring that individuals

can be in public without fear of omnipresent surveillance.



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       Third, BIPA’s “restriction on alleged First Amendment freedoms is no greater than is

essential to the furtherance of” those interests. “To satisfy this standard, a regulation need not be

the least speech-restrictive means of advancing the Government's interests. Rather, the

requirement of narrow tailoring is satisfied ‘so long as the . . . regulation promotes a substantial

government interest that would be achieved less effectively absent the regulation.’” Dahlstrom,

777 F.3d at 954, quoting Turner Broad. Sys., Inc. v. F.C.C., 512 U.S. 622, 662 (1994).

Unquestionably, absent BIPA, Illinois’ interest in protecting its citizens’ privacy would be

achieved less effectively. And the statute achieves this interest in a manner that still provides an

avenue for individuals to share their Biometrics if they so choose. Cf. Austin, 155 N.E.3d at 457

(finding nonconsensual pornography ban permissible under intermediate scrutiny where there is

“no liability for the dissemination of the very same image obtained and distributed with consent”).

III.   Absent Injunctive Relief, Plaintiffs Will Suffer Irreparable Harm.

       Absent the requested injunctive relief, Plaintiffs and Class Members will suffer irreparable

harm. The evidence establishes that Defendants already have had two major data breaches,

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  Zach Whittaker, Security Lapse Exposed Clearview AI Source Code, TechCrunch (Apr. 16, 2020),
https://techcrunch.com/2020/04/16/clearview-source-code-lapse/ (last accessed on May 6, 2021).

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                                                  where it will be difficult, if not impossible, to

determine what safeguards, if any, are in place or for Plaintiffs to enforce their rights.

       Further, Defendants have injured and continue to injure Plaintiffs and Class Members

through the unlawful collection and dissemination of their Biometric Data. See Bryant, 958 F.3d

at 624 (violation of BIPA’s collection and dissemination provisions inflicts a concrete and

particularized injury); Rosenbach, 2019 IL 123186 at ¶ 34 (“The injury is real and significant.”).

The inflicted harm is irreparable: “Biometrics . . . are biologically unique to the individual;

therefore, once compromised, the individual has no recourse.” 740 ILCS 14/5(c).

       Ignoring Plaintiffs’ and Class Members’ irreparable harm, Defendants contend that

Plaintiffs “cannot demonstrate any harm” because their conduct is exempt from BIPA. (Dkt. 43 at

20) (emphasis in original). As demonstrated above, that is not the case. Defendants’ offer to inform

the Court if they plan to further violate BIPA and further harm Plaintiffs and Class Members (id.

at 20) would leave the fox guarding the hen house and do nothing to alleviate the above-described

harms. Nor can Defendants contend Plaintiffs have not suffered harm because their conduct is

categorically exempt from BIPA (id.), as explained above.

       Finally, the contention that Plaintiffs fail to show irreparable harm because aspects of their

requested relief would not require Defendants to change their behavior (id. at 21-22) lacks merit.

Plaintiffs’ relief would require deletion of their Biometric Data and the implementation of proper

security measures, among other BIPA-related requirements.

       In contrast, neither Defendants nor the public would be harmed by the requested injunctive

relief. Plaintiffs do not seek to terminate Clearview’s operations, and the facts show that



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Defendants can comply with an order requiring the deletion of the unlawfully obtained data. To

the extent Defendants choose to cease operating rather than complying with an injunction, that is

a choice they would be making. That choice cannot outweigh the irreparable harm to Plaintiffs and

Class Members. Nor can Defendants claim harm based on a categorical exemption from BIPA or

First Amendment injury, as discussed above.

        Defendants’ contention that they cannot destroy certain information because of pending

litigation (id. at 23-24) is a red herring. If information is needed for litigation, the Court can fashion

relief that preserves it but puts it out of Defendants’ control.

        Defendants’ contention that an injunction would harm the public because their unlawful

business model may help solve crime (id. at 24-25) is baseless. It is well-settled that law

enforcement’s purported need or desire to use technology does not, on its own, supersede or negate

citizens’ privacy rights. See, e.g., Carpenter v. U.S., 138 S.Ct. 2206, 2217-18 (2018) (invalidating

warrantless collection of cell-site location information that was helpful to law enforcement).

IV.     Plaintiffs and Class Members Have No Adequate Remedy at Law.

        Finally, Defendants make the conclusory assertion that statutory damages are an adequate

remedy. Dkt. 43 at 25. Money damages cannot protect Plaintiffs and Class Members from the

continued harm caused by misuse of their Biometric Data. TD Bank N.A. v. Hill, 928 F.3d 259 (3d

Cir. 2019), relied on by Defendants (Dkt. 43 at 25), supports the requested injunctive relief: “The

availability of some legal remedy does not mean such a remedy is adequate.” Id. at 282.

                                           CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court enter an order

granting Plaintiffs and Class Members the requested Injunctive Relief.




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Dated: May 17, 2021


                                     Respectfully submitted,


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                               CERTIFICATE OF SERVICE

      I, Scott R. Drury, an attorney, hereby certify that, on May 17, 2021, I filed the foregoing
document using the Court’s CM/ECF system, which effected service on all counsel of record.

                                                    /s/ Scott R. Drury
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